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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
V. Criminal Action No, 22-34 (RBW)
AIDEN HENRY BILYARD,
Defendant.
)
ORDER

The parties appeared before the Court on October 20, 2022, for a guilty plea hearing. For
the reasons articulated by the Court during the hearing, the Court detained the defendant pending
his sentencing based on the conclusion that 18 U.S.C. § 3143(a)(2) requires detention in this
case. Although counsel for the defendant argued that the defendant should be released under
18 U.S.C. § 3145(c) based on “exceptional reasons[,]” the Court determined that counsel’s
justification for such a finding was insufficient. Moreover, considering the egregious and violent
nature of the defendant’s conduct and his encouraging of other rioters to invade the United States
Capitol, which formed the basis for the offense to which he admitted his guilt, the Court
concluded that the defendant does not “meet[] the conditions of release set forth in section
3143(a)(1)L]” 18 U.S.C. § 3145(c), because his conduct demonstrates that he would pose a risk
of danger to other persons or the community if released pending his sentencing.

Accordingly, it is hereby

ORDERED that, on February 2, 2023, at 9:30 a.m., the parties shal] appear before the
Court for sentencing. The parties shall appear before the Court in Courtroom 16 on the 6th floor
at the E. Barrett Prettyman United States Courthouse, 333 Constitution Avenue, N.W.,

Washington, D.C. 20001. It is further
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ORDERED that the defendant shall be detained pending sentencing.

SO ORDERED this 24th day of October, 2022.

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REGGIE B. WALTON
United States District Judge

 

' Pursuant to the defendant’s oral request, the Court recommends—but does not order—that the defendant be
detained at Northern Neck Regional Jail.
